






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00204-CV







In re Kevin P. Bonner







ORIGINAL PROCEEDING FROM COMAL COUNTY






M E M O R A N D U M   O P I N I O N




Kevin P. Bonner is currently incarcerated in a unit of the Texas Department of
Criminal Justice.  In a petition for writ of mandamus, Bonner states that a detainer has been filed
with the department to hold him for prosecution in Comal County cause number 2009CR0780. 
Bonner further states that he has moved for a bench warrant to Comal County for the speedy  trial
of this cause and requested that counsel be appointed  to represent him.  He complains that no action
has been taken on these requests and asks the Court to order the trial court to act.

The Court is advised that on April 20, 2011, counsel was appointed to represent
appellant in cause number 2009CR0780.  We are confident that with the assistance of counsel, this 
cause will be resolved promptly.


The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).



				__________________________________________

				Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Filed:   May 11, 2011


